     Case 2:13-cr-06070-SAB        ECF No. 114       filed 12/13/24   PageID.367   Page 1 of
                                                 2


     Vanessa R. Waldref
 1 United States Attorney
   Eastern District of Washington
 2 Benjamin D. Seal
   Assistant United States Attorney
 3 402 E. Yakima Avenue, Suite 210
   Yakima, Washington 98901
 4 (509) 454-4425

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 6
                          IN THE UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF WASHINGTON
 8

 9
     UNITED STATES OF AMERICA,

10                        Plaintiff,
                                                           NO: 2:13-CR-6070-SAB
11
           vs.
12
                                                           Notice of Appearance of
13                                                         Counsel for the United States
     KENNETH RICHARD ROWELL,
14
                          Defendant.
15

16
           Plaintiff, United States of America, by and through Vanessa R. Waldref, United
17
     States Attorney for the Eastern District of Washington, and Benjamin D. Seal,
18
     Assistant United States Attorney for the Eastern District of Washington, hereby enters
19 this Notice of Appearance of behalf of the United States of America.

20
           Dated this 13th day of December, 2024.
21

22                                          VANESSA R. WALDREF
                                            United States Attorney
23
                                            s/Benjamin D. Seal
24                                          Benjamin D. Seal
                                            Assistant United States Attorney
25

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28 Notice of Appearance
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     Case 2:13-cr-06070-SAB      ECF No. 114       filed 12/13/24   PageID.368   Page 2 of
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                                  CERTIFICATE OF SERVICE
 1
           I hereby certify that on December 16, 2024, I electronically filed the foregoing
 2
     with the Clerk of the Court using the CM/ECF System which will send notification of
 3
     such filing to the counsel of record.
 4

 5                                           s/Benjamin D. Seal
                                             Benjamin D. Seal
 6                                           Assistant United States Attorney
                                             United States Attorney’s Office
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28 Notice of Appearance
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